      Case 21-90002-LA              Filed 05/12/22         Entered 05/13/22 16:05:03     Doc 102   Pg. 1 of 1


                                      UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF CALIFORNIA

                                                           Minute Order
Hearing Information:
              ADV: 21-90002                                                                                          0.00
              CUKER INTERACTIVE, LLC VS WOLFE LEGAL GROUP, PC
                     Debtor:   CUKER INTERACTIVE, LLC
               Case Number:    18-07363-LA11          Chapter: 11
      Date / Time / Room:      THURSDAY, MAY 12, 2022 02:30 PM DEPARTMENT 2
         Bankruptcy Judge:     LOUISE DeCARL ADLER
         Courtroom Clerk:      KAREN FEARCE
           Reporter / ECR:     TRISH CALLIHAN

Matters:
    1)        NOTICE OF PRE-TRIAL STATUS CONFERENCE (Fr. 2/3/22)


    2)        PLAINTIFF'S AND COUNTER-DEFENDANT CUKER INTERACTIVE, LLC MOTION FOR SUMMARY
              JUDGMENT, OR IN THE ALTERNATIVE, SUMMARY ADJUDICATION. FILED BY MICHAEL D.
              BRESLAUER ON BEHALF OF CUKER INTERACTIVE, LLC.


    3)        MOTION BY DEFENDANT AND COUNTERCLAIMANT WOLFE LEGAL GROUP, PC FOR PARTIAL
              SUMMARY JUDGMENT FILED BY K. TODD CURRY


    4)        MOTION FOR PARTIAL DISCRETIONARY ABSTENTION FILED BY K. TODD CURRY ON BEHALF
              OF DEFENDANT/COUNTERCLAIMANT WOLFE LEGAL GROUP, PC.



Appearances:

         MICHAEL D. BRESLAUER, ATTORNEY FOR CUKER INTERACTIVE, LLC (Tele)
         K. TODD CURRY, ATTORNEY FOR WOLFE LEGAL GROUP, PC (Tele)

Disposition:                                                                                           1.00

         1) Hearing continued to 6/2/22 at 2:00 to see if a settlement can be reached.

         2-4) Tentative Ruling of the Court is affirmed.




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